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1. Before addressing its list of steps, the Postal Service notes two important pieces of

   background information.

2. First, Postal Service on-time delivery scores are dynamic, and historically show variation.

   The Postal Service historically sees both downturns, and upticks, over periods of time. Of

   course, the Postal Service works toward upward trends, over longer periods of time.

   Nonetheless these scores historically show fluidity, which should be borne in mind when

   assessing the return to a specific historic score.

3. Second, the Order identifies First-Class Mail and Marketing Mail on-time delivery scores

   that the Postal Service reached in early 2020. Certain events outside of the Postal Service’s

   control arose after this date, and these events may continue to impact on-time delivery

   scores. These events include: (i) the ongoing COVID-19 pandemic, which has continued

   to negatively impact service performance for a number of reasons including employee

   availability, as well as air transport operations (via flight changes and cancellations); and

   (ii) weather and other natural events, such as hurricanes and storms along the East and Gulf

   Coasts, and wildfires in the west.

4. In light of its commitment to restore scores to those identified in the Order, the Postal

   Service has identified several new or modified steps that focus on key tasks during each

   day’s mail flow and that are designed to expedite the timely delivery of Election Mail and

   to improve on-time delivery of First-Class and Marketing Mail, without significant

   disruption to the nationwide flow of mail according to operating plans in place for over

   five years. The Postal Service is currently implementing the following:

       a. Implementation of Dispatch of Value Minus 60 (DOV-60) during mail processing.

           This refers to the time at which mail has been processed and is ready to be
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    dispatched, relative to the time that the trucks usually leave the facility. Under

    DOV-60, mail processing is complete no later than 60 minutes prior to the planned

    dispatch of a truck. This allows extra time to address unexpected issues during

    processing, while still dispatching the trucks on time so that they can timely arrive

    at the next destination. DOV-60 is intended to synchronize plant operations to the

    dispatch schedule to ensure good mail flow to delivery units. It does not restrict

    late or extra trips or restrict the window for mail processing for timely delivery of

    the mail.

 b. Improved Day Zero Processing for Marketing Mail. This expedites the first step of

    processing Marketing Mail.          Customers drop off Marketing Mail in

    sacks/bundles/pallets. The first step to process the Marketing Mail is to unpack it,

    which is commonly referred to as “opening” the Marketing Mail. Under the Day

    Zero protocol, facilities open and process volumes earlier in the processing

    operation.

 c. Dissemination of “Processing to Plan” information to the field. This automatically

    transmits daily reports to Regional Vice Presidents, Division Directors, and

    processing Plant Managers. These reports flag small issues in processing, to allow

    local correction before deficiencies escalate. Examples of captured data include

    dips in the volume of mail processed, evaluated by product type, and compared to

    the volume that was planned to process. This also includes a report specifically for

    letters and flats that is released every six hours, to allow facilities to address

    potential issues even more quickly. These reports provide detailed processing data,

    by individual machines in the facility (including Delivery Bar Code Sorters,
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    Delivery Bar Code Sorter Input/Output Subsystems, Combined Input/Output

    Subsystems, and Automated Flats Sorting Machines). The data show the planned

    volume of mail to be processed, the actual volume of mail processed, and the types

    of operations (such as Delivery Point Sequence, and processing runs for letters,

    flats, and parcels). This allows facilities to pinpoint anomalies, or otherwise assess

    the effectiveness of its operations, down to the level of machine and specific

    operational step, and make adjustments as needed to facilitate timely mail delivery.

 d. Service Teams to troubleshoot problems. Where service failures occur, Service

    Teams can report to processing facilities so that the facilities can review and

    establish countermeasures. Service Team personnel may vary, but Service Teams

    work with representatives from local In-Plant Support, the Plant Manager, the

    Division Director, and Headquarters. Service Teams can troubleshoot issues such

    as mail- flow bottlenecks within the facility; staging and signage; getting the proper

    sequence of mail in and out of the facility; reviewing equipment quality and

    performance, and optimal machine operation.         For example, a Service Team

    reviews a five-day period, from Saturday-Wednesday.            The Team conducts

    entrance and exit meetings with the Division Director, Plant Manager, and members

    of Local In-Plant Support and Headquarters Operations. The Team reviews, among

    other items, service and delays; start and clearance times; operating plan

    compliance; proper color coding of mail (related to first-in, first-out sequence of

    mail); Run Plan Generator compliance to plan (referring to a software application

    to optimize machine usage and operational efficiency); and Cycle Time Reduction

    (referring to reducing time processes in the supply chain and the wait time between
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    processes). The Team also assigns action items to individuals, with due dates. HQ

    Processing Operations logs, and follows up on completion of, action items.

 e. Adjustments to operating windows on sortation machines to account for increased

    volume. The adjustments include increased staffing for locations and operations

    with expected high volumes, and early Sunday start times for all local operations.

 f. At Post Offices and delivery units across the country, efforts to improve and

    stabilize service are focused on ensuring units have adequate staffing to effect

    timely delivery of all mail. While this is still a challenge in some locations due to

    the ongoing pandemic, the Postal Service has targeted hiring efforts and shares

    resources across delivery units as necessary to address any staffing shortages.

    Retail and Delivery Operations is also focused on making sure that there are

    adequate resources and oversight of distribution operations in the mornings to

    ensure all committed mail and package volume is available for delivery as intended.

    Lastly, Retail and Delivery Operations is focused on improving collection and

    volume dispatch back to the processing centers.
